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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                   Chapter 11
In re
                                                   Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,       1                  (Jointly Administered)

                                                   Hearing Date: October 19, 2023 at 10:00 p.m.
                                                   Objection Deadline: September 27, 2023 at 4:00 p.m..
                        Debtors.                   extended for the U.S. Trustee to October 3, 2023

                                                   Ref: Docket No. 2646

    UNITED STATES TRUSTEE’S OBJECTION TO DEBTORS’ MOTION FOR ENTRY
    OF AN ORDER (I) GRANTING LEAVE FROM LOCAL RULE 3007-1(f) TO PERMIT
             THE FILING OF SUBSTANTIVE OMNIBUS OBJECTIONS
                     AND (II) GRANTING RELATED RELIEF

        Andrew R. Vara, the United States Trustee for Region 3 (the “U.S. Trustee”), through his

counsel, files this objection to Debtors’ Motion for Entry of an Order (I) Granting Leave from

Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus Objections and (II) Granting

Related Relief (the “Motion”), and in support of that objection, states:

                                     PRELIMINARY STATEMENT

        1.      By the Motion, the Debtors seek Court approval to modify the strict limitations

set forth in Federal Rule of Bankruptcy Procedure (“Bankruptcy Rule[s]”) 3007(e)(6) and this

Court’s Local Rule of Bankruptcy Practice and Procedure (“Local Rule[s]”) 3007-1(f)(i). If

granted, the modifications would permit the Debtors to file an unlimited number of omnibus

objections per month, each of which could assert objection to an unlimited number of claims.

The Debtors further request Court permission to modify Local Rule 3007-1(f)(iii) to disregard


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     The last four digits of the respective tax identification numbers for Debtors FTX Trading Ltd. and
     Alameda Research LLC are 3288 and 4063, respectively. A complete list of the additional Debtors
     tax identification numbers may be obtained on the website of the Debtors’ claims agent at
     https:/cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
     Technologies Ltd. is: Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua
     and Barbuda.
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the requirement to specify “all” substantive grounds for objections against any claim. If

granted, such relief would mean that the Debtors could file multiple substantive objections

against each claim, in multiple omnibus claims objections. These requested modifications would

result in confusion among, and additional burdens on, claimants. The requested modifications

would also result in inefficiencies that would affect not just claimants, but the Court as well.

Such modifications would also upset the balance between the rights of Debtors and of claimants

that are embodied in Bankruptcy Rule 3007 and Local Rule 3007-1. For these reasons, set forth

in more detail below, the Motion should be denied.

                                 JURISDICTION & STANDING

       2.      Pursuant to (i) 28 U.S.C. § 1334; (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a); and (iii) 28

U.S.C. § 157(b)(2)(A), this Court has jurisdiction to hear and determine this Objection.

       3.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

       4.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this

objection. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.),

33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under

11 U.S.C. § 307, which goes beyond mere pecuniary interest).




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                                   FACTUAL BACKGROUND

        5.       On or after November 11, 2022, the Debtors filed voluntary chapter 11 petitions

in this Court.

        6.       The Debtors continue to operate their business(es) as debtors in possession

pursuant to 11 U.S.C. §§ 1107 and 1108.

        7.       The U.S. Trustee appointed an official committee of unsecured creditors on

December 15, 2022.

        8.       On September 19, 2023, the Debtors filed the Motion. [D.I. 2646]. By the

Motion, the Debtors seek permission from the Court to avoid compliance with the provisions of

Local Rules 3007-1(f)(i) and (iii) regarding substantive claims objections. In particular, the

Debtors seek the ability to “file more than three omnibus claims objections per month,” each of

which “may exceed the 100-claim limit per substantive objection.” Proposed Order [D.I. 2646-

2] ¶ 2. The Debtors further seek Court authorization to avoid having to “raise all substantive

objections to each claim in such omnibus objections.” Id.

                                       ARGUMENT

   I.        The Request to File an Unlimited Number of Omnibus Motions a Month,
             Against an Unlimited Number of Claims Should Be Denied Because it Is Not in
             the Interest of Justice.

        9.       Federal Rule of Bankruptcy Procedure 3007(e)(6) provides: “(e) Requirements for

Omnibus Objection. An Omnibus Objection shall: (6) contain objections to no more than 100

claims.” The Debtors have provided no authority for this Court to undermine the strict

parameters of this rule. Simply stated, there is no proper legal or factual basis to enable the

Debtors to make an end run around Congress’ clear intent.

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       10.     In addition to the limits set forth in Bankruptcy Rule 3007(e) regarding omnibus

objections, there are also limits set forth in the Local Rules of this Court. Local Rule 3007-1

(f)(i) provides that substantive objections to claims must be filed separately for each claim,

except that three (3) Omnibus Objections of up to one hundred (100) claims per month can be

filed. While subsection (f)(ii) of Local Rule 3007-1 gives the Court discretion to modify the

limits of subsection (f)(i), such modifications must be “for cause.” Del. Bankr. L.R. 3007-

1(f)(ii). In addition, like other modifications to the Local Rules, such discretion should be

exercised in the “interest of justice.” Del. Bankr. L.R. 1001-1(c).

       11.     The interest of justice would not be served by the modification requested in the

Motion. While these cases are large, they do not warrant an open-ended claims objection

process. If the Motion were granted, it would open the floodgates to unlimited Omnibus

Objections which might include thousands of claimants per objection. Contrary to Debtors’

assertion of streamlined efficiency, this would likely lead to an unwieldy, chaotic claims

objection process. Specifically, it could result in massive confusion for creditors (especially pro

se claimants) in deciphering the objections and determining whether their claims are part of the

objection. The net result could be creditors needlessly and unwittingly failing to respond to the

objections, thereby leading to an undeserved windfall by default in the Debtors’ favor.

       12.     Consequently, there is no just cause to modify Local Rule 3007-1(f)(i) to permit

unlimited Omnibus Objections to be filed each month, in which the Debtors may object to an

unlimited number of claims. Even if such modification were allowed under the Local Rules,

Bankruptcy Rule 3007 does not permit modification of the restrictions that limit each omnibus

objection to 100 claims. See Fed. R. Bankr. P. 3007(e)(6).


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   II.         The Motion Should Also Be Denied Because the Requested Modification Would
               Fail to Provide Claimants with Notice of All Substantive Objections.

         13.      Local Rule 3007-1 (f)(iii) provides:
                  An Objection based on substantive grounds, other than incorrect
                  classification of a claim, shall include all substantive objections to
                  such claims.

         14.      By the Motion, the Debtors further seek Court permission to avoid compliance

with Local Rule 3007-1(f)(iii), so that they may file multiple substantive objections at different

times against the same claims. Although not mentioned by the Debtors in their Motion, unlike

subsections (f)(i) and (ii) of Local Rule 3007-1, there is no provision in Local Rule 3007-1 that

allows the restrictions of subsection (f)(iii) to be modified, other than the general provision set

forth in Local Rule 1001-1(c).

         15.      This requested relief should be denied because it would upset the delicate balance

between the interests of the Debtors and of claimants in the claims objection process. The

Bankruptcy Rules clearly state that a proof of claim executed and filed in accordance with the

Bankruptcy Rules “shall constitute prima facie evidence of the validity and amount of the

claim.” Fed. R. Bankr. P. 3001(f); see In re Lampe, 665 F. 3d 506, 514 (3rd Cir. 2011). The

challenger must rebut the presumption of validity with affirmative proof, and more than a mere

general assertion is necessary to overturn the presumption. See In re Colorado Corp., 531 F. 2d

463, 467 (10th Cir. 1976); In re Lampe, 665 F.3d at 514.

         16.      If the Motion is granted, these clear evidentiary burdens will be reversed, shifting

dramatically in favor of the Debtors. Without the safeguards of Local Rule 3007-1(f)(iii),

claimants would be required to prove their claims against vague, conclusory, or even

unarticulated objections. This does not provide the notice or process required by the


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Bankruptcy Code, the Bankruptcy Rules and the Local Rules as written. See In re Lampe, 665

F.3d at 514 (objector must produce evidence sufficient to negate prima facie validity of claim).

          17.   Further, the claim objection process is a contested matter which provides parties

with the opportunity to conduct discovery consistent with the procedures incorporated in the

Bankruptcy Rules. See Fed. R. Bankr. P. 9014(c); see Advisory Committee Note to Fed. R.

Bankr. P. 9014(c). In the event a creditor seeks discovery without the benefit of a fully-pleaded

objection to its claim, the creditor is at a great disadvantage in prosecuting its claim,

propounding discovery, and preparing for the hearing on the objection.

          18.   In addition, if the relief the Debtors request is granted, it may sow confusion

among creditors who successfully defend their claims against a substantive claims objection.

Creditors who think their matter is fully resolved will not look future omnibus claims objections

to see if their claim is again being objected to, on different substantive grounds. Moreover, after

the Court has already ruled on one substantive claims objection, claimants should not have to

review every single additional claims objection filed in the case, over months or years, to

determine whether the Debtors have come up with a new theory on which to object to their

claims.

          19.   Finally, if the Debtors are permitted to skirt the requirement of setting forth all

substantive objections to a claim at the same time, there is nothing to prevent the Debtors from

relitigating claims objections ad infinitum. If the Debtors are unsuccessful on the grounds stated

in the objection, they could assert separate grounds, resulting in multiple bites at the same apple.

Such a result would be detrimental to the rights of claimants and unduly creates judicial

inefficiencies. Simply put, Local Rule 3007-1(f)(iii) is designed to provide the holder of a claim


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with full notice and disclosure of all substantive objections to their claim. To deny creditors this

protection would be inequitable, as it would force claimants to bear the expense of defending

their claims multiple times, thereby eviscerating the intent of the Local Rules.

                                 RESERVATION OF RIGHTS

       20.     The U.S. Trustee reserves all rights, remedies, and obligations to, inter alia,

complement, supplement, augment, alter, or modify this Objection, file any appropriate Motion,

conduct any discovery as may be deemed necessary or as may be required, and assert such other

grounds as may subsequently become apparent.

       WHEREFORE, the U.S. Trustee respectfully requests that this Court enter an order

denying the Motion and granting such other relief as the Court deems appropriate.


 Dated: Wilmington, Delaware                           Respectfully submitted,
        September 29, 2023
                                                       ANDREW R. VARA
                                                       UNITED STATES TRUSTEE
                                                       REGIONS 3 AND 9

                                                       By: /s/ Jonathan W. Lipshie
                                                       Juliet Sarkessian
                                                       Benjamin A. Hackman
                                                       Jonathan W. Lipshie
                                                       Trial Attorneys
                                                       Office of the United States Trustee
                                                       J. Caleb Boggs Federal Building
                                                       844 King Street, Suite 2207, Lockbox 35
                                                       Wilmington, DE 19801
                                                       (302) 573-6491
                                                       Juliet.M.Sarkessian@usdoj.gov
                                                       Benjamin.A.Hackman@usdoj.gov
                                                       Jon.Lipshie@usdoj.gov




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